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                                                                              5


                                                                                    Oct 22, 2013
                          UNITED STATES DISTRICT CO URT
                          SO UTHERN DISTRICT O F FLORIDA
                      13-60260-CR-SCOLA/VALLE
                         CASE NO .
                                        18U.S.C.j922(j)(1)
                                        18 U.S.C.j922Q)
                                        18U.S.C.j924(d)(1)
  UNITED STATES OF AM ERICA

               V S.

 JUSTIN SM ITH ,

               Defendant.
                                    /

                                         IN D ICTM EN T

      The GrandJury chargesthat:

                                           COUNT 1

       On oraboutAugust21,2013,in Broward County,in the Southern DistrictofFlorida, the

 defendant,

                                        JU STIN SM IT H ,

 having been previously convicted ofa crim e punishable by imprisonm entfora term exeeeding

 one year,did knowingly possessa tsrearm in and affecting interstate and foreign comm erce,in

 violationofTitle18,UnitedStatesCode,Section922(g)(1).
       Itisfurtheralleged thattheGrearm isan Izhmash,m odellJ70-18A,9m m sem i-automatic

 pistolbearing serialnumberA0T1366.

                                           CO UN T 2

      O n or aboutA ugust23,2013,in Brow ard County,in the Southern D istrictof Florida, the

 defendant,

                                        JUSTIN SM ITH ,
  Case 0:13-cr-60260-RNS Document 1 Entered on FLSD Docket 10/22/2013 Page 2 of 5




       having been previously convicted ofa crim e punishable by imprisomnentfora term exceeding

       one year,did knowingly possessa firearm in and affecting interstate com merce,in violation of

       Title 18,UnitedStatesCode,Section922(g)(1).
             ltisfurtheralleged thatthe tirearm isaSm ith & W esson,modelBodyguard,.380 caliber

             rbearing serialnumberEAY2544.
   Elvbi
                                               CO UNT 3
              On oraboutAugust23,2013,in Broward County,in the Southern DistrictofFlorida,the

       defendant,

                                            JU STIN SM ITH ,

       did knowingly possess a stolen tirearm ,which had been shipped and transported in interstate

       comm erce,knowing and having reasonable cause to believe that the firearm was stolen,in

       violationofTitle18,UnitedStatesCode,Section922().
              Itisfurtheralleged thatthefirearm isaSm ith & W esson,m odelBodyguard,.380 caliber

niip        rbearingserialnumberEAY2544.
       Q 5#0$
                                    FO RFEITU R E AL LEG AT IO NS

                    TheallegationsofthisIndictmentarere-alleged and by thisreference fully

       incop orated herein for the pumose of alleging forfeiture pursuant to Title 18,United States

       Code,Section924(d)(1),asmadeapplicablebyTitle28,UnitedStatesCode,Section2461(c).
             2.     Upon conviction ofCount1or2 ofthis Indictm ent,offensesin violation ofTitle

       18,United StatesCode,Section 922(g)(1),thedefendantJUSTIN SM ITH,shallforfeitto the
       United Statespursuantto Title 18,United StatesCode,Section 924(d)(1),and Title28,United
Case 0:13-cr-60260-RNS Document 1 Entered on FLSD Docket 10/22/2013 Page 3 of 5



 StatesCode,Section2461(c),anytirearm involvedinorused inthecommissionoftheparticular
 offense,including,butnotlim ited to:

        (a)   One(1)lzhmash,modelIJ70-18A,9mm semi-automaticpistolbearingserial
              numberA0T1366;and
                                                                     xl
        (b)   One(1)Smith& W esson,modelBodyguard,.380caliber               bearingserial
              numberEAY2544.
                                                                     891'54.
                                                                           *l
               Upon conviction ofCount3 ofthisIndictm ent,an offensein violation ofTitle 18,

 United StatesCode,Section 922U'),the defendantJUSTIN SM ITH,shallforfeitto the United
 Statespursuantto Title 18,United StatesCode,Section 924(d)(1),and Title28,United States
 Code,Section 2461(c),any fireann involved in orused in the commission of that offense,
 including,butnotlim ited to:

               (a)    One(1)Smith& W esson,modelBodyguard,.380caliberrzwnlve.
                                                                            rbearing
                                                                       Rs/ f
                      serialnumberEAY2544.
        A11pursuantto Title 18,United StatesCode,Section 924(d)(1),asmade applicableby
 Title 28,United StatesCode,2461(c),and the proceduressetforth in Title 21,United States
 Code,Section 853.

                                                 A TR UE BILL



                                                 FO ?ER N
  6*                        . .z#


 W IFRED A .FERRER
 UN ITED STA TES A TTORN EY




 JO DIAN TO N
 ASSISTANT UNITED STATES ATTORNEY
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  Case 0:13-cr-60260-RNS Document 1 Entered on FLSD Docket 10/22/2013 Page 4 of 5
                          UNITED STATES DISTRICT CO URT
                          SO UTH ERN DISTRICT O F FLORIDA

UNITED STATES OF AM ERICA                                 CASE NO.
VS.
                                                         CERTIFICATE O F TRIAL ATTO RNEY *
JUSTIN SM ITH ,
                          Defendant.
                                         /               Superseding CaseInform ation:

CourtDivision:(SelectOne)                                New Defendantts)             Yes            No
                                                         Num berofNew Defendants
        M iam i           Key W est                             Totalnumberofcounts
        FTL X             W PB           FTP
        Ido herebycertify that:
        1.      Ihavecarefullyconsideredtheallegationsoftheindictmenty thenumberofdefendants,thenumberofprobable
                witnessesandthe legalcomplexitiesofthe Indictment/lnformation attachedhereto.
                Iam awarethatthe infonnation supplied on thisstatementwillberelied upon by theJudgesofthisCourtin
                s
                Settingtheircalendarsapd schedulingcriminaltrialsunderthemandateoftheSpeedyTrialAct Title28 U.S.C.
                 ection3l61.

                Intepreter:      (YesorNo)        No
                Listlanguageand/ordialect
                Thiscasewilltake         3-5     daysforthepartiestotry.
        5.      Pleasecheck appropriatecategoryandtypeofoffenselistedbelow:
                (Checkonl
                        yone)                                    (Checkonlyone)
       l        0 to 5days              X                        Petty
       11       6 to l0days                                      M inor
       IIl      l1 to 20days                                     Misdem.
       IV       21 to 60days                                     Felony
       V        61daysand over
       6.       HasthiscasebeenpreviouslyfiledinthisDistrictCourt?                 (YesorNo)
       Ifyes:
       Judge:                                                CaseNo.
                   (Attachcopyofdispositiveorder)
       HasacomplaintbeentiledInthismatter?                 NO (YesorNo)
       Ifyes:
       M agistrateCaseNo.
       RelatedM iscellaneousnum bers:
       Defendantts)infederalcustodyasof
       Defendantts)instatecustodyasof
       Rule20 fw m thtDistrictof
       lsthisapottntialdtathpenaltycase?                (YesorNo)
                Doesthiscaseoriginate from amatterpending in theN orthern Region ofthe U.S.A ttom ey'sO ffice priorto
                October14,2003?         Yes       X    No

       8.       Doesthiscase originate from amatterpending in the CentralRegion ofthe U.S.Attorney'sO ffice priorto
                Septem ber1,2007?              Yes        X No
                                                                    I



                                                        JODIANTON
                                                        A SSISTANT UN ITED STA TES ATTORN EY
                                                        FloridaBarN o.:184098
PenaltySheetts)attached
  Case 0:13-cr-60260-RNS Document 1 Entered on FLSD Docket 10/22/2013 Page 5 of 5


                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                                  PEN A LTY SH EET



Defendant'sNam e:JUSTIN SM ITH                                          CaseNo:

Counts#:land 2

 Possession ofaFirearm

 18USC 922(g)(1)

+M ax.Penalty:            Ten(10)years'imprisonment,$250,000fineandThree(3)yearssupervisedrelease                            .



Count#:3

Knowinclv Possessinca Stolen Firearm

 18 USC 922(1)

*M ax.Penalty:            Ten(10)years'imprisonment,$250,000fineandThree(3)yearssupervisedrelease.




*M ax.Penalty:

Count #:




*M ax.Penalty:
   *Refersonly to possible tenn ofincarceration,does not include possible fmes, restitution,specialassessments,paroletenns
   or forfeituresthatmay be applicable.
